






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00725-CR






William Thomas Watts, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF CONCHO COUNTY, 119TH JUDICIAL DISTRICT

NO. DIS-08-01654, HONORABLE BEN WOODWARD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	On July 15, 2008, following a bench trial, the trial court found appellant
William&nbsp;Thomas Watts guilty of aggravated sexual assault of a child and imposed a fifty year
sentence.  The trial court signed a judgment of conviction formalizing the finding of guilt on July&nbsp;17. 
On August 12, appellant filed a timely motion for new trial.  See Tex. R. App. P. 21.4(a).  The
motion was overruled by operation of law on September 29, the Monday following seventy-five days
after the trial court "impos[ed] . . . sentence in open court."  See id. R. 21.8.  The notice of appeal
was due no later than October 13, 2008, ninety days after sentence was imposed in open court.  See
id. R.&nbsp;26.2(a)(2).  Appellant's notice of appeal was mailed October 28 and filed by the trial court
on&nbsp;October 30.  

	October 28 was the last day of the fifteen-day period during which a defendant may
seek an extension of time to file his notice of appeal.  See id. R. 26.2(a)(2), 26.3.  "When a notice
of appeal is filed within the fifteen-day period but no timely motion for extension of time is filed,
the appellate court lacks jurisdiction."  Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996);
see Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998) (affirming that Olivo still governs
late notices of appeal under amendments to rules of appellate procedure).  We therefore withdraw
our order of February 24, 2009, (1) and dismiss the appeal for want of jurisdiction.  See Olivo,
918&nbsp;S.W.2d at 523 ("When a notice of appeal, but no motion for extension of time, is filed within
the fifteen-day period, the court of appeals lacks jurisdiction to dispose of the purported appeal in
any manner other than by dismissing it for lack of jurisdiction.  In that instance, a court of appeals
lacks jurisdiction over the purported appeal and, therefore, lacks the power to invoke Rule 2(b) or
Rule&nbsp;83 in an effort to obtain jurisdiction of the case.").


					__________________________________________

					David Puryear, Justice 

Before Chief Justice Jones, Justices Puryear and Henson

Filed:   March 4, 2009

Dismissed for Want of Jurisdiction

Do Not Publish
1.   On February 24, 2009, in mistaken reliance upon case law applicable only to civil appeals,
we ordered appellant's counsel to file a motion for extension of time.  However, the court of criminal
appeals has ruled that a motion for extension of time to file a notice of appeal in a criminal case must
be filed within the fifteen-day extension period and that this time limit cannot be extended or waived. 
See Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996)


